                THE UNITED STATES BANKRUPTCY COURT
              FOR THE EASTERN DISTRICT OF PENNSYLVANIA

IN RE: Dennis Lee Stauffer               :           Chapter 13
       and Deborah Anne White -Stauffer, :
                    Joint Debtors        :           Case No.: 24-11844-amc

                             CERTIFICATE OF SERVICE

       I, Joseph Quinn, Esquire, attorney for Debtors hereby certify that a true and correct

copy of Debtors’ proposed Second Amended Chapter 13 Plan dated and docketed

November 6, 2024 was forwarded to the following parties, as follows:

Via First Class Mail on November 6, 2024:

All other creditors not otherwise served via ECF

Via Electronic Filing (ECF) on November 6, 2024:

Denise Elizabeth Carlon, Esquire on behalf of PennyMac Loan Services, LLC
bkgroup@kmllawgroup.com

Keri P Ebeck, Esquire on behalf of Newrez LLC dba Shellpoint Mortgage Servicing (fka
Specialized Loan Servicing LLC) Servicing Agent for MEB Loan Trust VIII
kebeck@bernsteinlaw.com,
btemple@bernsteinlaw.com;kebeck@ecf.courtdrive.com;agilbert@bernsteinlaw.com

Scott F. Waterman, Chapter 13 Trustee
ECFMail@ReadingCh13.com

United States Trustee
USTPRegion03.PH.ECF@usdoj.gov

                                     ROSS, QUINN & PLOPPERT, P.C.

                                     By:     /s/ Joseph Quinn__________
                                             Joseph Quinn, Esquire
                                             Attorney I.D. No. 307467
                                             192 S. Hanover Street, Suite 101
                                             Pottstown, PA 19464
                                             T: 610.323.5300
                                             F: 610.323.6081
                                             jquinn@rqplaw.com
Date: November 6, 2024                       Counsel for Debtors


                                             1
